Case 2:20-cv-03745-GW-AS Document 12 Filed 05/13/20 Page 1 of 4 Page ID #:253



                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES-GENERAL

 Case No.       CV 20-3745-GW-ASx                                                Date    May 13, 2020

 Title Samuel Armstrong v. Gavin Newsom, et al.                                                 Page     1 of 4

 Present: The Honorable          GEORGE H. WU, UNITED STATES DISTRICT JUDGE

               Javier Gonzalez                                                    None Present
                Deputy Clerk                                                      Comt Repo1ter

     Attorneys Present for Plaintiff(s)                                Attorneys Present for Defendant(s)

                None Present                                                       None Present

Proceedings: IN CHAMBERS - RULING ON EXPARTE APPLICATION FOR A
             TEMPORARY RESTRAINING ORDER [8]


I.       Background1
         This cases involves the constitutionality of California's statewide stay-at-home order
issued in response to the ongoing COVID-19 pandemic. Plaintiff Samuel Annstrong ("Plaintiff')
brought this putative class action against defendant Gavin Newsom ("Defendant"), the governor
of California, alleging that the stay-at-home order (Executive Order N-33-20, attached as an
exhibit to the seven-page Cpmplaint) ("SHO") violates the Due Process Clause of the Fomteenth
Amendment. Before the Comt is Plaintiffs ex pa1te application for a temporaiy restraining order
("TRO") enjoining enforcement of the SHO, which Plaintiff filed yesterday.
         The SHO orders Californians to comply with a separate order issued by the State Public
Health Officer. SHO at 1. That order in tum states that Californians must stay home "except as
needed to maintain continuity of operations" in ce1tain areas of critical federal infrastru cture which
ai·e identified in yet another doclllllent. Id. That doclllllent lists 16 areas, including "Commercial
Facilities," "Food and Agriculture," and "Healthcare and Public Health" sectors.




         1
         The following abbreviations are used for the filings : (1) Complaint ("Cmpl."), ECF No. 1; (2) Executive
Order N-33-20 ("Stay Home Order", ECF No. 1- 1; (3) Application for Temporaiy Restraining Order ("TRO App."),
ECFNo. 8).

 CV-90                                 CIVIL MINUTE~ENERAL                           Initials of Deputy Clerk JG
Case 2:20-cv-03745-GW-AS Document 12 Filed 05/13/20 Page 2 of 4 Page ID #:254



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES-GENERAL

 Case No.      CV 20-3745-GW-ASx                                         Date May 13, 2020

 Title Samuel Armstrong v. Gavin Newsom, et al.                                         Page    2 of 4

         Plaintiff alleges that: (1) the SHO confines him and other California residents who do not
clearly fall within one of the exempt sectors to their homes, and constitutes detention without due
process in violation of the Fomieenth Amendment; and (2) the SHO is impennissibly vague.
Cmpl. ~ 1.
II.      Legal Standard
         " An application for a temponuy restraining order involves the invocation of a drastic
remedy which a comi of equity ordinarily does not grant, unless a ve1y strong showing is made of
a necessity and desirability of such action." See Postmates Inc. v. I 0,356 Individuals, No. CV 20-
2783-PSG-(JEMx), 2020 WL 1908302, *5 (C.D. Cal. Apr. 15, 2020) (quoting Youngstown Sheet
& Tube Co. v. Sm,ryer, 103 F. Supp. 978, 980 (D.D.C. 1952)). The standards for a tempora1y
restraining order and a preliminaiy injunction ai·e "substantially identical." Stuhlbarg Int '! Sales
Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). A TRO "is a f01m of
preliminaiy injunctive relief that can be issued, under naiTow circumstances, without notice to the
opposing pai·ty or that paiiy's attorney. Its sole pmpose is to preserve the status quo pending
heai·ing on the moving party's application for a preliminaiy injunction." O'Connell & Stevenson,
Federal Civil Procedure Before Trial, California and 9th Circuit Editions, § 13:7 (Rutter Gip.
2017).
         A party seeking a temporaiy restraining order or preliminaiy injunctive relief must
demonstrate: (1) "that he is likely to succeed on the merits," (2) "that he is likely to suffer
inepai·able hai'ln in the absence of prelimina1y relief," (3) "that the balance of equities tips in his
favor," and (4) "that an injunction [or temporaiy restraining order] is in the public interest."
Stormans, Inc. v. Selecky, 586 F.3d 1109, 1127 (9th Cir. 2009) (quoting Winter v. NRDC, 555 U.S.
7, 20 (2008)). The paiiy must present evidence sufficient to clearly cai'ly his or her burden of
persuasion on each requirement. Towery v. Brewer, 672 F.3d 650, 657 (9th Cir. 2012) (citations
omitted); Winter, 555 U.S . at 22 (explaining that a preliminaiy injunction can issue only on "a
clear showing that the plaintiff is entitled to such relief').

 CV-90                               CIVIL MINUTE~ENERAL                     Initials of Deputy Clerk JG
Case 2:20-cv-03745-GW-AS Document 12 Filed 05/13/20 Page 3 of 4 Page ID #:255



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES-GENERAL

 Case No.      CV 20-3745-GW-ASx                                         Date    May 13, 2020

 Title Samuel Armstrong v. Gavin Newsom, et al.                                         Page    3 of 4

III.     Discussion
         Plaintiff has not shown that he is likely to succeed on the merits, or that a tempora1y
restraining order is in the public interest. Either of these standing alone is a sufficient ground for
denying Plaintiffs TRO application.
         A. Likelihood of success on the merits
         Plaintiff's constitutional challenge to the SHO rnns into the principle that "under the
pressure of great dangers," individual constitutional rights may be reasonably restricted "as the
safety of the general public may demand." Jacobson v. Commonwealth of Massachusetts, 197
U.S. 11, 27 (1905) . Contra1y to Plaintiff's argument, "great dangers" are not limited to wa1time,
TRO App. 11-12, but may include (and have included) situations such as now where society is
faced with a pandemic. Id. (observing that "a community has the right to protect itself against an
epidemic of disease which threatens the safety of its members").
         Plaintiff states that he "is not challenging the Governor's prerogative (and medically sound
decision) to prevent mass gatherings," but rather is challengingly the SHO's requirement - which
goes beyond that - that Californians stay at home. TRO App. at 14, 28. However, as another court
has observed, the "settled" rnle of Jacobson "allows the state to restrict, for example, one 's right
to peaceably assemble, to publicly worship, to trnvel, and even to leave one 's home." In re Abbot,
954 F.3d 772, 778 (5th Cir. 2020) (emphasis added) . Plaintiff's arguments that these authorities
do not suppo1t the SHO 's validity (such as distinguishing the severity of the threat of smallpox in
Jacobson and COVID-19 here, or contrnsting the reasonableness of the resti·ictions in Abbot and
the SHO), fall sho1t of showing a likelihood of success on the merits based merely upon the
materials Plaintiff has proffered in his papers.
         B. The public interest
         Even if Plaintiff were likely to succeed on the merits, Plaintiff's application does not show
that a TRO would be in the public interest. While it has a concluso1y statement that "an injunction
is in the public interest," TRO App. at 41 , it does not address what the consequences would be

 CV-90                              CIVIL MINUTE~ENERAL                      Initials of Deputy Clerk JG
Case 2:20-cv-03745-GW-AS Document 12 Filed 05/13/20 Page 4 of 4 Page ID #:256



                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES-GENERAL

 Case No.      CV 20-3745-GW-ASx                                         Date   May 13, 2020

 Title Samuel Armstrong v. Gavin Newsom, et al.                                        Page    4 of 4

from lifting the SHO, such as any increase in infections and fatalities. Given this failure, Plaintiff
has not demonstrnted that a TRO would be in the public interest.
         Additionally, given the impo1iance of any judicial order that could possibly limit the
Governor's exercising his executive powers in the face of the cmTent COVID-19 pandemic, this
Comi is extremely reluctant to render any decision without the hearing from the State Attorney
General's Office.
IV.      Conclusion
         Based on the foregoing discussion, the Comi DENIES the application for a tempora1y
restraining order. The Comi sets a hearing date of May 28, 2020 at 8:30 a.m. on Plaintiff's motion
for a prelimina1y injunction, unless the paiiies stipulate to a different date and briefing schedule.
Counsel ai·e to appeai· telephonically with advance aiTangement with the Court Clerk. Defendant
shall file and serve any opposition papers by May 20, 2020, and Plaintiff shall file any reply by
noon on May 22, 2020.




 CV-90                             CIVIL MINUTE~ENERAL                      Initials of Deputy Clerk JG
